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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA,                     :
                                              :
               v.                             :       Case No.:       1:15-cr-00290-LOVAED
                                              :
NOE MONTES-BOBADILLA,                         :
     Defendant.                               :

      MOTION FOR CLARIFICATION OF COURT’S ORDER DISQUALIFYING
                   ATTORNEY EDUARDO BALAREZO

       Comes now, the defendant NOE MONTES-BOBADILLA, by and through counsel and

moves this Honorable Court for an order clarifying its ruling from the bench made on September

4, 2018 disqualifying Attorney Eduardo Balarezo from representing the defendant, NOE

MONTES-BOBADILLA. Specifically, counsel requests that this Honorable Court enter an order

disqualifying Attorney Balarezo from representing the defendant due to his potential conflict of

interest. Further it is requested that Mr. Balarezo be barred from communicating directly with the

defendant absent the approval of this Honorable Court or undersigned counsel. In support of which

counsel states the following:

   1. On August 20, 2018, the government moved to disqualify Attorney Eduardo Balarezo as

       counsel for the defendant. In part, the government alleged in its moving papers a potential

       conflict of interest necessitating the granting of the request for disqualification. In essence

       the government’s motion identified Attorney Balarezo’s prior contacts and representation

       with one or more individuals with potentially adverse interest to the defendant.

   2. On September 4, 2018, this Honorable Court held a hearing on the government’s

       disqualification motion. From the bench the Court granted the motion to disqualify

       Attorney Balarezo. During the hearing the Court noted the current trial date made Attorney




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         Balarezo unavailable. Notwithstanding this observation, the Court at counsel for the

         government’s request specifically articulated that the government’s motion was granted

         and that Attorney Balarezo was deemed disqualified. 1

    3. On September 5, 2018, this Honorable Court appointed undersigned counsel as co-counsel

         to Attorney Elita Amato pursuant to the Criminal Justice Act. See Title 18 U.S.C 3006.

    4. Despite the Court’s ruling on September 4, 2018, Attorney Balarezo subsequently caused

         a pleading to be filed on behalf of the defendant. This pleading was filed on or about

         September 12, 2018.            At the time of this action Attorney Balarezo was aware of

         undersigned counsel and Attorney Elita Amato’s representation of the defendant. 2 This

         action was taken without the knowledge, approval, or consent of Attorney Amato or

         undersigned counsel.

    5. In response, this Honorable Court granted Attorney Amato’s request to strike this pleading.

         The request to strike was predicated on the Court’s disqualification ruling.3




         1“Disqualification, where appropriate, ensures that the case is well presented in court, that confidential
information of present or former clients is not misused, and that a client’s substantial interest in a client’s loyalty is
protected.” RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 6 cmt. i (2000). See In re Dresser Indus.,
972 F.2d 540, 543 (5th Cir. 1992) (noting that courts should consider whether the “likelihood of public suspicion from
the impropriety outweighs any social interests which will be served by the lawyer’s continued participation in the
case”).

         2 There can be no legitimate claim that Attorney Balarezo was aware of Attorney Amato’s representation

of the defendant and undersigned counsel’s pending appointment at the time he took this action. Mr. Balarezo
attended the September 4, 2018 hearing in the presence of Attorney Amato at defense counsel table. Further, on
the same day Mr. Balarezo contacted undersigned counsel via telephone. During this conversation Mr. Balarezo
expressed his strong disagreement with the court’s disqualification ruling. In addition, Mr. Balarezo discussed
undersigned counsel’s pending appointment.
         .
         3 It must also be noted that an exhibit attached to the offending pleading was purportedly written by the

defendant. This is remarkable given the fact the defendant is illiterate and cannot read or write the English or
Spanish language. It is difficult to imagine the defendant preparing such a document without the substantial
influence of another. Interestingly the representations contained therein, if adopted by this Honorable Court, would
undoubtedly create a pathway for a reconsideration of the disqualification of Attorney Balarezo.


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 6. The Court further struck the appearance of Attorney Daniel Dorsey. Attorney Daniel

    Dorsey served as local counsel for Attorney Balarezo. In doing so, the Court clearly took

    affirmative action to preclude Attorney Balarezo’s representation of the defendant.

 7. On September 14, 2018, undersigned counsel reduced to writing a request that Attorney

    Balarezo cease and desist all efforts to represent the defendant in light of the Court’s ruling

    on his disqualification. A copy of counsel’s correspondence to Attorney Balarezo is

    attached.

 8. On September 17, 2018, counsel received a written response to his correspondence to

    Attorney Balarezo. Among other disturbing things, in the responsive correspondence

    Attorney Balarezo professes that the Court’s disqualification ruling was limited.

    Specifically, Attorney Balarezo suggests that the predicate for the Court’s ruling was

    exclusively due to his schedule conflict with the current trial date in this matter. He further

    proclaims to represent the defendant in other unidentified, unspecified, and allegedly

    unrelated matters.4 Finally, Attorney Balarezo declares contrary to undersigned counsel’s

    request he will continue communicating directly with the defendant.

 9. Most disturbingly, in the same communication Attorney Balarezo directs the undersigned

    counsel not to attempt to inquire of the defendant the nature of his relationship with Mr.

    Balarezo. In doing so, Mr. Balarezo directly threatens undersigned counsel with reporting

    any such efforts to the “authorities.” A copy of Attorney Balarezo’s responsive letter is

    attached. Mr. Balarezo is without any legal, moral, or ethical justification to enforce any

    limitation on undersigned counsel’s communication with the defendant.




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    10. Mr. Balarezo is not licensed to practice law in the Commonwealth of Virginia. Further,

         upon information and belief, Mr. Balarezo is not a member of the bar of this Honorable

         Court.

    11. The defendant is a citizen of Honduras. He is currently detained at the Alexandria Adult

         Detention Center located in the Commonwealth of Virginia. He is presently in this judicial

         district exclusively for the purpose of answering the indictment in this matter. It is difficult,

         if not outright impossible, to conceive what if any other legal matters the defendant has

         which do not bear a “substantially relationship”5 to the matter which this Honorable Court

         has already declared Mr. Balarezo disqualified.

    12. Attorney Balarezo’s continued efforts at representing the defendant are adversely

         impacting the undersigned counsel’s ability to provide Constitutionally effective

         representation. These actions include filing of the aforementioned pleading on behalf of

         the defendant, providing legal advice to the defendant, communicating with the defendant

         absent the consent of undersigned counsel, and attempting to limit undersigned counsel’s

         communications with the defendant. Individually and collectively these actions are an

         affront to the lawful attorney-client relationship between the defendant and undersigned

         counsel.




         5 To establish a substantial relationship, the legal advice that the lawyer gave in the prior representation
need not be “relevant,” at least in the evidentiary sense, to the pending litigation. In re Corrugated Container
Antitrust Litig., 659 F. 2d 1341, 1346 (5th Cir. Unit A 1981). “It need only be akin to the present action in a way
reasonable persons would understand as important to the issues involved.” Hydril Co. v. Multiflex, Inc., 553 F. Supp.
552, 554 (S.D. Tex. 1982). “The test speaks in terms of a substantial relationship, not substantial identity, of legal and
factual elements between the prior representation and the pending litigation.” Home Ins. Co. v. Marsh, 790 S.W.2d
749, 753 (Tex. App.—El Paso 1990, orig. proceeding)(emphasis added).



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    13. Attorney Balarezo’s interference with the undersigned counsel’s representation of the

         defendant while Mr. Balarezo labors under a potential conflict of interest is unethical. It is

         in violation of Virginia Rules of Professional Responsibility 1.4.

    14. Upon information and belief, Attorney Balarezo is continuing to represent the defendant in

         this matter and or “substantially related matters” despite the ruling of this Honorable Court.

         His shadow representation6 is nothing more than a poor and misguided attempt to

         circumvent the unambiguous intentions of this Court. Such behavior should not be

         tolerated. It falls well below the standard this Honorable Court should expect of any

         attorney practicing before this tribunal.

    15. Upon information and belief, Attorney Balarezo continues to exercise confidential

         communications with the defendant during his detention post his disqualification. 7

    16. Undersigned counsel has conferred with Assistant United States Attorney James Trump

         concerning the instant request. The government does not object to the granting of this

         request.

    Wherefore, it is respectfully requested that this Honorable Court enter an order specifically

disqualifying Attorney Balarezo from representing the defendant due to his potential conflict of

interest. Further it is requested that Mr. Balarezo be barred from communicating directly with the

defendant absent the approval of this Honorable Court or the undersigned counsel.




         6 An attorney-client relationship may encompass many types of legal work, including “the representation
of a client in court proceedings, advice to a client, and any action on a client’s behalf that is connected with the
law.” Hamrick v. Union Township, 79 F. Supp. 2d 871, 875 (S.D. Ohio 1999)(emphasis added).

         7  These inappropriate contacts include Mr. Balarezo continuing to make use of attorney/client contact
visits at the Alexandria Adult Detention Center as well as restricted attorney/client telephone calls. It is believed
these actions are continuing despite his disqualification as counsel for the defendant.


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   I ASK FOR THIS:



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   Counsel for Defendant NOE MONTES-BOBADILLA


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2018, I caused a true and accurate copy of the

foregoing to be served via ECF on all counsel of record.



   __________/s/________________
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